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                   IN THE UNITED STATES DISTRICT COURT
 19      FOR THE CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
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    CARL ZEISS AG and ASML                        Case No. 2:17-cv-03221-RGK (MRWx)
 21 NETHERLANDS B.V.,
                                                  PLAINTIFFS’ REPLY IN SUPPORT
 22
                 Plaintiffs,                      OF MOTION TO REQUIRE
 23 v.                                            DISCLOSURE OF CLAIMS NIKON
 24                                               PLANS TO RAISE AT TRIAL
    NIKON CORPORATION, SENDAI
 25 NIKON CORPORATION, and NIKON Hearing Date: July 23, 2018, 9:00 a.m.
 26 INC.,                        Courtroom: 850
            Defendants.          Judge: Hon. R. Gary Klausner
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       PLAINTIFFS’ REPLY IN SUPPORT OF MOTION TO REQUIRE DISCLOSURE
                              OF CLAIMS NIKON PLANS TO RAISE AT TRIAL
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  1         Plaintiffs Carl Zeiss AG and ASML Netherlands B.V. (“Plaintiffs”) offer this
  2   short reply in support of their Motion to Require Disclosure of Claims Nikon Plans to
  3   Raise at Trial (Doc. No. 430).
  4         Plaintiffs’ motion was simple and straightforward.              Local Rule 16-2.8
  5   specifically requires that “[e]ach party shall disclose to every other party which of the
  6   party’s pleaded claims and defenses the party plans to pursue, together with the party’s
  7   contentions regarding the applicable facts and law.” Local Rule 16-2.8. In their
  8   motion, Plaintiffs merely asked that this Court order Nikon to comply with this rule
  9   and (1) disclose which prior art references Nikon plans to raise at trial, and (2) disclose
 10   the basis for Nikon’s purported ownership defense. As explained in the motion, Nikon
 11   does not contend that it plans to raise all fifteen prior art references at trial, yet Nikon
 12   refuses to disclose which of those references it will use. Nikon additionally refuses
 13   to provide any legally-sound basis for challenging Plaintiff’s ownership of the
 14   asserted patents. Plaintiffs must have a fair opportunity to prepare for trial, and must
 15   be allowed to know what claims Nikon actually plans to raise at trial and the basis for
 16   those claims.
 17         Nikon’s response is directed to casting Plaintiffs’ in a bad light. For example,
 18   Nikon contends that Plaintiffs’ motion is “vexatious” simply because this Court
 19   decided not to hear the motion on a non-expedited basis. Nikon also provides its oft-
 20   repeated characterization of Plaintiffs’ acquisition of the patents-in-suit—all without
 21   citing a single case suggesting that anything about how Plaintiffs’ acquired the patents
 22   was improperly or legally ineffective to transfer title. If anything, these arguments
 23   demonstrate why Plaintiffs brought their motion—it is clear from Nikon’s filing that
 24   Nikon plans to force Plaintiffs to waste time walking through their acquisition of the
 25   patents-in-suit where there is no dispute as to ownership, while at the same time trying
 26   to use this ownership challenge as a back-door to circumvent this Court’s grant of
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       PLAINTIFFS’ REPLY IN SUPPORT OF MOTION TO REQUIRE DISCLOSURE
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  1   Plaintiffs’ motion in limine to exclude prejudicial evidence concerning Plaintiffs’’
  2   acquisition of the patents. (See D.I. 274; DI. 430-3, at 4:22-5:1.)
  3         Nikon appears to make only one legal argument that is relevant to the basis for
  4   Plaintiffs’ motion—arguing that “the purpose of [Rule 16-2.8] is to prevent the use of
  5   claims or defenses not disclosed.” Resp. at 3. Nikon is only half right. Plainly, all of
  6   Rule 16.2 is designed to allow the parties to prepare for trial and to winnow down the
  7   issues that must be presented to a jury. For example (and as relevant here), Rule 16-
  8   2.2 encourages parties to “make every effort to stipulate to facts upon which the parties
  9   know or have reason to know there can be no dispute.” Rule 16.2 also requires
 10   disclosure of exhibits, witnesses, etc. And, as pointed out, Rule 16-2.8 requires parties
 11   to disclose which of the pleaded contentions the parties actually plan to bring to trial.
 12   As this Court has recognized, the very point of the rule is a recognition that cases are
 13   narrowed for trial, and that every claim or defense plead or disclosed in the discovery
 14   process will not end up making it to trial. See Lisker v. City of Los Angeles, No. CV
 15   09-09374 AHM AJWX, 2011 WL 3420665, at *2 (C.D. Cal. Aug. 4, 2011)
 16   (recognizing that Rule 16-2.8 is designed to winnow claims plead down for trial).
 17   General, conclusory allegations—such as identifying a broad swath of 15 potential
 18   prior art references or vague “hot potato” ownership challenges—are not sufficient.
 19   See Matrix Int'l Textile, Inc. v. Monopoly Textile, Inc., No. CV160084FMOAJWX,
 20   2017 WL 2929379, at *2 (C.D. Cal. May 12, 2017) (rejecting a general and
 21   “conclusory” disclosure under Rule 16-2.8).
 22         As to disclosure of prior art references, Nikon does not dispute that it does not
 23   plan to bring fifteen prior art references to trial. Indeed, Nikon explicitly states that it
 24   is “working to narrow down its own case further.” Resp., at 3. All Plaintiffs’ motion
 25   asks is that Plaintiffs be kept in the loop so that they have a fair opportunity to prepare
 26   for trial. As to the ownership challenge, Nikon continues to fail to provide any legally-
 27   viable claim that Plaintiffs’ do not own the patents, nor does Nikon even assert in its
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        PLAINTIFFS’ REPLY IN SUPPORT OF MOTION TO REQUIRE DISCLOSURE
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  1   motion that Nikon disputes that Plaintiffs own them. Instead, Nikon asserts that there
  2   “could have been an error in assignment.” But this does not count as sufficient
  3   disclosure, nor is it any basis for disputing the fact that Plaintiffs do, in fact, own the
  4   patents-in-suit.
  5         Therefore, Plaintiffs ask that this Court grant the motion, and require disclosure
  6   of claims Nikon intends to pursue at trial and the basis for those claims, as required
  7   by the local rules. Given that trial is next week, Plaintiffs’ have waived oral argument
  8   (D.I. 443) and respectfully request that the Court consider and decide this motion at
  9   its earliest convenience.
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  1                             CERTIFICATE OF SERVICE
  2         The undersigned hereby certifies that a true and correct copy of the above and
  3   foregoing document has been served on July 3, 2018, to all counsel of record who are
  4   deemed to have consented to electronic service via the Court’s CM/ECF system per
  5   Civil Local Rule 5.4. Any other counsel of record will be served by electronic mail,
  6   facsimile and/or overnight delivery.
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